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          In the United States Court of Federal Claims
                                             No. 18-1124 C
                                       Filed: November 20, 2023


*************************************
WAZEE STREET OPPORTUNITIES          *
FUND IV LP, et al.,                 *
            Plaintiffs,             *                                     JUDGMENT
                                    *
v.                                  *
                                    *
THE UNITED STATES                   *
            Defendant.              *
*************************************

       Pursuant to the court’s Opinion and Order, filed November 15, 2023, granting defendant’s
motion to dismiss,

         IT IS ORDERED AND ADJUDGED this date, pursuant to Rule 58, that Counts I, II, and
III of plaintiffs’ second amended complaint are dismissed for failure to state a claim upon which relief can
be granted; Counts IV, V, VI, and VII are dismissed for lack of standing; and Counts VIII and X are
dismissed for lack of subject matter jurisdiction. No costs.



                                                                          Lisa L. Reyes,
                                                                          Clerk of Court


                                                                      By: s/ Ashley Reams
                                                                          Deputy Clerk




 NOTE: As to appeal to the United States Court of Appeals for the Federal Circuit, 60 days from
 this date, see RCFC 58.1, re number of copies and listing of all plaintiffs. Filing fee is $505.00.
